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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

UNITED STATES OF AMERICA,


v.
                                                    Case No. 3:16cr17/MCR
LARRY L. MASINO,
and DIXIE L. MASINO,

                                        /
                                      ORDER

      In consideration of the upcoming trial date and the parties’ need to prepare for

trial, the Court finds it necessary to issue this summary ruling on Defendants’ Motion

to Dismiss Count II of the Indictment (ECF No. 43). The Court will enter a

Memorandum Order setting forth its reasoning for the decision next week.

      After a careful consideration of Chapter 849 of the Florida Code (Gambling),

and in particular the Bingo statute, Fl. Stat. § 849.0931, together with the relevant

legal precedent, the Court concludes that bingo offenses are not a form of illegal

gambling under Florida law, and therefore, a violation of the Florida Bingo statute

may not serve as predicate offense for purposes of the Federal Gambling statute, 18

U.S.C. 1955. Because the Superseding Indictment does not change this result, the

Court construes Defendants’ Motion to Dismiss as a motion to dismiss Count II of

the Superseding Indictment, and GRANTS the motion. Additionally, because the
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recently filed Motion to Continue (ECF No. 79) is based on changes in Count II of

the now Superseding Indictment, Defendants’ Motion to Continue is DENIED.




      Accordingly,

      1. Defendants’ Motion to Dismiss Count II of the Indictment (ECF No. 43)

is GRANTED, and Count II of the Superseding Indictment is dismissed.

      2. Defendants’ Motion to Dismiss Count II of the Indictment (ECF No. 42) is

DENIED as moot.

      3. Defendants’ Joint Motion to Continue is DENIED.



      DONE and ORDERED this 24th day of June, 2016.




                                M. Casey Rodgers
                                M. CASEY RODGERS
                                CHIEF UNITED STATES DISTRICT JUDGE
